Case 18-33967-bjh11 Doc 519 Filed 02/18/19                     Entered 02/18/19 16:00:24              Page 1 of 6



Trey A. Monsour                                              Jeremy R. Johnson (Admitted Pro Hac Vice)
State Bar No. 14277200                                       Polsinelli PC
Polsinelli PC                                                600 3rd Avenue, 42nd Floor
2950 N. Harwood, Suite 2100                                  New York, New York 10016
Dallas, Texas 75201                                          Telephone: (212) 684-0199
Telephone: (214) 397-0030                                    Facsimile: (212) 684-0197
Facsimile: (214) 397-0033                                    jeremy.johnson@polsinelli.com
tmonsour@polsinelli.com
COUNSEL TO THE DEBTORS AND
DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:
                                                           Chapter 11
SENIOR CARE CENTERS, LLC, et al.,1
                                                           Case No. 18-33967 (BJH)
                 Debtors.
                                                           (Jointly Administered)


             LIST OF WITNESSES AND EXHIBITS FOR FEBRUARY 21, 2019 HEARING

         Senior Care Center, LLC, et al. (the “Debtors”), by and through the undersigned counsel

hereby designate the following witnesses and exhibits (the “Witness and Exhibit List”) for the

hearing scheduled on February 21, 2019, at 2:00 p.m. (CT) before the Honorable Douglas Dodd,

United States Bankruptcy Court for the Northern District of Texas, Earl Cabell Federal Building,

1100 Commerce Street, 14th Floor, Courtroom No. 2, Dallas, Texas 75242.

         A.      WITNESSES

                 1. Kevin O'Halloran, Chief Restructuring Officer;

                 2. Any Witness necessary to authenticate a document;

                 3. Any rebuttal and/or impeachment witnesses; and


1
   A list of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, is attached hereto as Exhibit A. The Debtors’ mailing address is 600 North Pearl Street, Suite
1100, Dallas, Texas 75201.


67354537.2
Case 18-33967-bjh11 Doc 519 Filed 02/18/19           Entered 02/18/19 16:00:24          Page 2 of 6



               4. Any person listed on the witness list of another party.

         B.    EXHIBITS

 Debtors’               Description of Exhibit              Offered         Objection   Admitted
Exhibit No.
     1.                   Organizational Chart
     2.          Diagram of Cash Management System
     3.                 List of Taxing Authorities
     4.                      Updated Budget
     5.          Attorney Checklist Regarding Motions
                 and Orders Pertaining to Use of Cash
                 Collateral and Postpetition Financing
        6.      Declaration of Kevin O’Halloran, Chief
                  Restructuring Officer of Senior Care
                Centers, LLC, in Support of Chapter 11
                   Petitions and First Day Pleadings
        7.          Debtors’ Response Letter, dated
                           December 31, 2018
        8.      Lease of PM Management – Park Valley
                    NC, LLC, dated August 1, 2013
        9.           Declaration for Gray Robinson
                                Application
        10.        Declaration for BDO Application
        11.     Declaration for Newbridge Application
        12.           Amended and Restated Lease
                 Agreement, dated December 31, 2009
        13.     Lease Amendment, dated July 24, 2018
        14.     Declaration Pages for Various Insurance
                                 Policies
        15.     List of Rejected Leases Subject to Third
                       Omnibus Rejection Motion
        16.     Supplemental Exhibit – Rejected Leases
        17.         Declaration for H2C Application

         The Debtors reserve the right to use additional exhibits for purposes of rebuttal or

impeachment and to further supplement the foregoing lists of witnesses and exhibits as

appropriate. The Debtors also reserve the right to rely upon and use as evidence (i) additional

documents produced by the Debtors, (ii) exhibits included on the exhibit lists of any other parties

in interest, and (iii) any pleading, hearing transcript, or other document filed with the Court in

the above-captioned matter.

                                                 2
67354537.2
Case 18-33967-bjh11 Doc 519 Filed 02/18/19   Entered 02/18/19 16:00:24   Page 3 of 6



Dated: February 18, 2019             Respectfully submitted,
       Dallas, Texas
                                     POLSINELLI PC

                                      /s/ Trey A. Monsour
                                     Trey A. Monsour (State Bar No. 14277200)
                                     2950 N. Harwood, Suite 2100
                                     Dallas, Texas 75201
                                     Telephone: (214) 397-0030
                                     Facsimile: (214) 397-0033
                                     tmonsour@polsinelli.com

                                     -and-

                                     Jeremy R. Johnson (Admitted Pro Hac Vice)
                                     600 3rd Avenue, 42nd Floor
                                     New York, New York 10016
                                     Telephone: (212) 684-0199
                                     Facsimile: (212) 684-0197
                                     jeremy.johnson@polsinelli.com

                                     Counsel to the Debtors and
                                     Debtors in Possession




                                        3
67354537.2
Case 18-33967-bjh11 Doc 519 Filed 02/18/19      Entered 02/18/19 16:00:24   Page 4 of 6



                                       Exhibit A

                                 (Sorted Alphabetically)

#      Debtor Name                                           Case No.           EIN
1.     Alief SCC LLC                                         18-33987           0523
2.     Bandera SCC LLC                                       18-33989           0617
3.     Baytown SCC LLC                                       18-33992           0778
4.     Beltline SCC LLC                                      18-33996           7264
5.     Booker SCC LLC                                        18-33999           0967
6.     Bossier SCC LLC                                       18-34003           2017
7.     Bradford SCC LLC                                      18-34004           9535
8.     Brinker SCC LLC                                       18-34005           7304
9.     Brownwood SCC LLC                                     18-33968           0677
10.    Capitol SCC LLC                                       18-34006           1750
11.    CapWest-Texas LLC                                     18-34008           4897
12.    Cedar Bayou SCC LLC                                   18-34010           8889
13.    Clear Brook SCC LLC                                   18-34012           1877
14.    Colonial SCC LLC                                      18-34014           4385
15.    Community SCC LLC                                     18-33969           7951
16.    Corpus Christi SCC LLC                                18-34016           9807
17.    Crestwood SCC LLC                                     18-34017           7349
18.    Crowley SCC LLC                                       18-33970           6697
19.    CTLTC Real Estate, LLC                                18-34018           0202
20.    Fairpark SCC LLC                                      18-34020           7381
21.    Gamble Hospice Care Central LLC                       18-34022           6688
22.    Gamble Hospice Care Northeast LLC                     18-34025           6661
23.    Gamble Hospice Care Northwest LLC                     18-34027           2044
24.    Gamble Hospice Care of Cenla LLC                      18-34029           4510
25.    Green Oaks SCC LLC                                    18-33971           7218
26.    Harbor Lakes SCC LLC                                  18-33972           7299
27.    Harden HUD Holdco LLC                                 18-34032           1502
28.    Harden Non-HUD Holdco LLC                             18-34035           3391
29.    Harden Pharmacy LLC                                   18-34036           1995
30.    Hearthstone SCC LLC                                   18-34037           9154
31.    Hewitt SCC LLC                                        18-33973           7237
32.    HG SCC LLC                                            18-34040           7415
33.    Hill Country SCC LLC                                  18-34043           4199
34.    Holland SCC LLC                                       18-33974           1427
35.    Hunters Pond SCC LLC                                  18-34045           2886
36.    Jacksonville SCC LLC                                  18-34046           4216
37.    La Hacienda SCC LLC                                   18-34049           1074
38.    Lakepointe SCC LLC                                    18-34050           7457
39.    Major Timbers LLC                                     18-34052           7477
40.    Marlandwood East SCC LLC                              18-34054           1871


67354537.2
Case 18-33967-bjh11 Doc 519 Filed 02/18/19     Entered 02/18/19 16:00:24   Page 5 of 6



#      Debtor Name                                          Case No.           EIN
41.    Marlandwood West SCC LLC                             18-34058           2192
42.    Meadow Creek SCC LLC                                 18-34064           9278
43.    Midland SCC LLC                                      18-34065           4231
44.    Mill Forest Road SCC LLC                             18-34066           5137
45.    Mission SCC LLC                                      18-33975           8086
46.    Mullican SCC LLC                                     18-34067           7499
47.    Mystic Park SCC LLC                                  18-34068           1898
48.    Normandie SCC LLC                                    18-34069           1542
49.    Onion Creek SCC LLC                                  18-34070           7425
50.    Park Bend SCC LLC                                    18-34071           9410
51.    Pasadena SCC LLC                                     18-34072           1694
52.    Pecan Tree SCC LLC                                   18-34073           4241
53.    Pecan Valley SCC LLC                                 18-34074           9585
54.    Pleasantmanor SCC LLC                                18-34075           7536
55.    PM Management - Allen NC LLC                         18-34076           4961
56.    PM Management - Babcock NC LLC                       18-34077           7829
57.    PM Management - Cedar Park NC LLC                    18-34078           1050
58.    PM Management - Corpus Christi NC II LLC             18-34079           5231
59.    PM Management - Corpus Christi NC III LLC            18-34080           5129
60.    PM Management - Corsicana NC II LLC                  18-34081           9281
61.    PM Management - Corsicana NC III LLC                 18-34082           9353
62.    PM Management - Corsicana NC LLC                     18-34083           1333
63.    PM Management - Denison NC LLC                       18-34084           5022
64.    PM Management - El Paso I NC LLC                     18-34085           2965
65.    PM Management - Fredericksburg NC LLC                18-34086           0599
66.    PM Management - Frisco NC LLC                        18-34087           5082
67.    PM Management - Garland NC LLC                       18-33979           5137
68.    PM Management - Golden Triangle NC I LLC             18-33980           9478
69.    PM Management - Golden Triangle NC II LLC            18-33981           9536
70.    PM Management - Golden Triangle NC III LLC           18-33982           9597
71.    PM Management - Golden Triangle NC IV LLC            18-33983           9654
72.    PM Management - Killeen I NC LLC                     18-33984           3105
73.    PM Management - Killeen II NC LLC                    18-33985           3179
74.    PM Management - Killeen III NC LLC                   18-33986           3245
75.    PM Management - Lewisville NC LLC                    18-33988           5296
76.    PM Management - New Braunfels NC LLC                 18-33990           6293
77.    PM Management - Park Valley NC LLC                   18-33991           7186
78.    PM Management - Pflugerville AL LLC                  18-33993           4007
79.    PM Management - Portfolio IX NC LLC                  19-30253           1841
80.    PM Management – Portfolio V NC, LLC                  19-30249           2086
81.    PM Management - Portfolio VI NC LLC                  19-30250           5354
82.    PM Management - Portfolio VII NC LLC                 19-30251           9728
83.    PM Management - Portfolio VIII NC LLC                19-30252           3048
84.    PM Management - Portland AL LLC                      18-33994           5018

                                           2
67354537.2
Case 18-33967-bjh11 Doc 519 Filed 02/18/19          Entered 02/18/19 16:00:24   Page 6 of 6



#      Debtor Name                                               Case No.           EIN
85.    PM Management - Portland NC LLC                           18-33995           4928
86.    PM Management - Round Rock AL LLC                         18-33997           5304
87.    PM Management - San Antonio AL LLC                        19-30254           4609
88.    PM Management - San Antonio NC LLC                        18-33998           1216
89.    Presidential SCC LLC                                      18-34000           1913
90.    Redoak SCC LLC                                            18-33976           7569
91.    Riverside SCC LLC                                         18-34001           1889
92.    Round Rock SCC LLC                                        18-34002           8936
93.    Rowlett SCC LLC                                           18-34007           7606
94.    Ruston SCC LLC                                            18-34009           0242
95.    RW SCC LLC                                                18-34011           7631
96.    Sagebrook SCC LLC                                         18-34013           9571
97.    San Angelo SCC LLC                                        18-34015           4254
98.    San Antonio SCC, LLC                                      19-30261           4923
99.    SCC Edinburg LLC                                          18-34019           1195
100.   SCC Hospice Holdco LLC                                    18-34021           0104
101.   SCC Senior Care Investments LLC                           18-34023           4123
102.   SCC Socorro LLC                                           18-34024           5459
103.   Senior Care Center Management II LLC                      18-34026           1280
104.   Senior Care Center Management LLC                         18-34028           7811
105.   Senior Care Centers Home Health, LLC                      18-34030           1931
106.   Senior Care Centers LLC                                   18-33967           8550
107.   Senior Rehab Solutions LLC                                18-34031           4829
108.   Senior Rehab Solutions North Louisiana LLC                18-34033           1690
109.   Shreveport SCC LLC                                        18-34034           1659
110.   Solutions 2 Wellness LLC                                  18-34038           4065
111.   South Oaks SCC LLC                                        18-34039           8002
112.   Springlake ALF SCC LLC                                    18-34041           2436
113.   Springlake SCC LLC                                        18-34042           9102
114.   Stallings Court SCC LLC                                   18-33977           7393
115.   Stonebridge SCC LLC                                       18-34044           9234
116.   Stonegate SCC LLC                                         18-33978           3005
117.   Summer Regency SCC LLC                                    18-34047           7782
118.   TRISUN Healthcare LLC                                     18-34048           2497
119.   Valley Grande SCC LLC                                     18-34051           1341
120.   Vintage SCC LLC                                           18-34053           7710
121.   West Oaks SCC LLC                                         18-34055           9535
122.   Western Hills SCC LLC                                     18-34056           1922
123.   Weston Inn SCC LLC                                        18-34057           7871
124.   Westover Hills SCC LLC                                    18-34059           3303
125.   Whitesboro SCC LLC                                        18-34060           7745
126.   Windcrest SCC LLC                                         18-34061           9541
127.   Windmill SCC LLC                                          18-34062           8067
128.   Wurzbach SCC LLC                                          18-34063           9920

                                             3
67354537.2
